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           ORDERED in the Southern District of Florida on July 5, 2017.




                                                                  A. Jay Cristol, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          IN RE:
                                                                       CASE NO:12-22873-AJC
                                                                       CHAPTER 13
          RAFAEL CORRALES-YUNEZ and
          DOLORES MARIA CORRALES,

                   DEBTORS
                                        /

                           AGREED ORDER SUSTAINING OBJECTION TO CLAIM
                                    OF IBERIA BANK (CLAIM #14)

                   THIS CAUSE having come before the court on June 20, 2017 on the Trustee’s Objection to
          Iberia Bank - Claim #14, (DE #89); and this court having considered the basis for the objection to
          claim, and based upon agreement by the parties, it is
                   ORDERED that the Trustee’s Objection to Claim filed by Iberia Bank (Claim #14); is
          sustained and claim should be stricken.
                                                          # # # #

          Submitted by: James Alan Poe, Esq., 9500 So. Dadeland Blvd., Suite 610, Miami, FL 33156

          Attorney James A. Poe is directed to serve a copy of this order immediately upon receipt to all
          parties in interest and to file a certificate of mailing with the court.
